      Case 14-50333-gs         Doc 123     Entered 07/17/14 16:40:32           Page 1 of 1



 1   Timothy A. Lukas, Esq.
     Nevada Bar No. 4678
 2   Joseph G. Went, Esq.
     Nevada Bar No. 9220
 3   HOLLAND & HART LLP
     9555 Hillwood Drive, 2nd Floor
 4   Las Vegas, Nevada 89134
     Tel: (702) 669-4600
 5   Fax: (702) 669-4650
     Email: jgwent@hollandhart.com
 6   Attorneys for John Beach, Trustee of the
     Beach Living Trust dated January 22, 1999
 7
                                UNITED STATES BANKRUPTCY COURT
 8                                     DISTRICT OF NEVADA
 9    In re:                                                      Case No.: BK-N-14-50333-btb
                                                                  Chapter: 11
10    ANTHONY THOMAS and WENDI THOMAS
                                                                  [Lead Case – Jointly Administered]
11
            Affects AT EMERALD, LLC                              Case No.: BK-N-14-50331-btb
12          Affects all Debtors                                  Chapter: 11
13                                                                NOTICE OF CONTINUED 2004
                                                                  EXAMINATION OF THE PERSON
14                                                                MOST KNOWLEDGEABLE OF
                                                                  THE SARASOTA VAULT
15
                                                                  Continued Date: August 12, 2014
16                                                                Continued Time: 9:00 a.m. EST

17

18   TO: ALL PARTIES IN INTEREST

19               NOTICE IS HEREBY GIVEN that the 2004 Examination of the Person Most

20   Knowledgeable of the Sarasota Vault, upon oral examination pursuant to Federal Rule of

21   Bankruptcy Procedure 2004, previously scheduled for August 5, 2014 at 9:00 a.m. EST at the

22   Sarasota Vault, located at 640 South Washington Blvd., Suite 125, Sarasota, Florida 34236,

23   has been continued to August 12, 2014 at 9:00 a.m. EST.

24             Dated this 17th day of July, 2014.

25                                           HOLLAND & HART LLP
                                                   /s/ Joseph G. Went
26                                           By:_______________________
                                                Timothy A. Lukas, Esq. (4678)
27                                              Joseph G. Went, Esq. (9220)
28                                                  Page 1 of 1

     6992057_1
